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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

VEROBLUE FARMS USA, INC.                     )
                                             )
               Plaintiff,                    )
                                             )         No. 18-CV-3047
       v.                                    )
                                             )         DEFENDANTS WULF, HALL, J. REA,
LESLIE A. WULF, BRUCE A. HALL                )         T. REA’S MOTION TO QUASH
JAMES REA, JOHN E. REA, and                  )         SUBPOENAS OR FOR PROTECTIVE
KEITH DRIVER,                                )         ORDER
                                             )
               Defendants.                   )


       COME NOW Defendants Leslie Wulf, Bruce Hall, James Rea, and John (“Ted”) Rea,

pursuant to Federal Rule of Civil Procedure 45(d)(3) and 26(c) and Local Rule 7, and for their

Motion to Quash Subpoenas or for Protective Order, state:

       1.      On February 12, 2019, Plaintiff VeroBlue Farms USA, Inc. provided Notice of its

intent to serve subpoenas on the following entities:

               a. Goldstein & McClintock LLP;

               b. Horwood Marcus & Berk;

               c. Beecher, Field, Walker, Morris, Hoffman & Johnson, P.C.;

               d. FishDish LLC;

               e. William J. Turk;

               f. First State Bank;

               g. Wells Fargo;

               h. Comerica Bank;

               i. Bank of America, N.A.; and

               j. Kenneth Lockard.

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       2.     The foregoing entities are law firms engaged or contacted by Defendants, financial

institutions where Defendants hold accounts, and shareholders who object to Plaintiff’s Chapter

11 Bankruptcy plan.

       3.     Plaintiff’s subpoenas broadly request the following information:

              a. Any and all documents and communications relating to VBF.

              b. Any and all documents and communications relating to the Complaint.

              c. Any and all documents and communications relating to, or with, Defendants.

              d. Any and all documents and communications relating to, or with, Defendants’

                  counsel, including but not limited to Staci [sic] Codr, Kim Annello, and/or

                  Heath Cheek or their law firms, Finley Law Firm, P.C., Exall + Wood, PLLC,

                  and Bell Nunnally & Martin LLP.

              e. Any and all other documents and communications relating in any way to the

                  attached December 19, 2018 letter from Thomas Fawkes; the attached

                  December 20, 2018 letter from Aaron Hammer; and the attached January 9,

                  2019 letter from Sean Maniaci including, but not limited to, outlook calendar

                  appointments, invoices, engagement letters, agreements, witness statements

                  (whether stand-alone or contained in another document), memoranda, notes of

                  communications, and other documents.

              f. Any and all other documents and communications that relate to any

                  investigation performed as to the attached letters.

              g. Any and all statements of any witnesses, whether included in affidavits,

                  transcripts, or contained within any other format.




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       4.      Defendants request the court quash the subpoenas, in their entirety, because they;

i) seek communications relevant to challenges to VBF’s Chapter 11 reorganization plan, ii) require

disclosure of privileged or other protected matter, including information protected by the attorney-

client privilege and common-interest privilege, and iii) seek disclosure of confidential personal

and/or commercial information. Fed R. Civ. P. 45(d)(3).

       5.      Alternatively, Defendants request the court enter a protective order forbidding the

disclosure or discovery. Fed. R. Civ. P. 26(c)(1)(A).

       6.      Pursuant to Local Rule 7, Defendants attached hereto and incorporate by reference

a Brief in Support, containing the grounds for the motion and citations to the authorities upon

which Defendants rely for the relief requested herein.

       WHEREFORE, Defendants Leslie Wulf, Bruce Hall, James Rea, and John (“Ted”) Rea

respectfully request the Court enter an Order quashing the subpoenas issued to the above-

mentioned entities or enter an Order forbidding the disclosure sought by the subpoenas.



Date: February 24, 2019                       LESLIE WULF, BRUCE HALL,
                                              JOHN (TED) REA, JAMES REA


                                              By: /s/ Kimberly D. Annello
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                                                    Attorneys for Defendants, Leslie Wulf,
                                                    Bruce Hall, John (Ted) Rea, and James
                                                    Rea

                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on February 25, 2019 a true and correct copy of the
above and foregoing was served upon counsel of records for all parties via ECF Service.


                                                    ___/s/ Kimberly D. Annello




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